Case 3:24-cv-00496-JFS Document1 Filed 03/22/24 Page 1 of 7

CIVIL COMPLAINT FORM TO BE USED BY A PRO SE PRISONER

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

t “ LL on OW-IMO ce,
~ PAn Inmate Number 3 ° C V ™ io 4 ™ 0 4 Gg G

Civil No.
Vv. : (to be filled in by the Clerk’s Office)
Aad (SOD monled : (___) Demand for Jury Trial
Name of Defendant 1 : (__) No Jury Trial Demand
“Aue he (Lal he D
Name of Defendant 2 FILE N
SCRANTO
Soadars az20ren WAR 22 2024
Name of Defendant 3 :
PER ep iity CLERK
Wok rweounn Soh ro [LO@T
Name of Defendant 4
Name of Defendant 5

(Print the names of all defendants. If the names of all
defendants do not fit in this space, you may attach
additional pages. Do not include addresses in this

section).

I. NATURE OF COMPLAINT
Indicate below the federal legal basis for your claim, if known.

Civil Rights Action under 42 U.S.C. § 1983 (state, county, or municipal defendants)

Civil Rights Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388
(1971) (federal defendants)

Negligence Action under the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346, against the
United States

Page 1 of 6
I.

Case 3:24-cv-00496-JFS Document1 Filed 03/22/24

ADDRESSES AND INFORMATION

A. PLAINTIFF
Spee eo | ance.

Page 2 of 7

Name (Last, First, MJ)
Qro- Io

Inmate Numbe

5 oC
Shake ORR» cele a ek : lee

Place of Confinement :
1000 Fellies oad

Address ,
Salas ra (SOl2

City, County, State, Zip Code

Indicate whether you are a prisoner or other confined person as follows:

Pretrial detainee
Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

IIT

Convicted and sentenced federal prisoner

B. DEFENDANT(S)

Provide the information below for each defendant. Attach additional pages if needed.

Make sure that the defendant(s) listed below are identical to those contained in the caption. If

complaint.

Defendant 1:
Toned ALod (SOG

’ incorrect information is provided, it could result in the delay or prevention of service of the

”. (Last, First)
reopakion DxxieeR tl

Current Job Title

N/A

Current Work Address

AS L>anna Coontd a
City, County, State, Zip Code

Page 2 of 6
Case 3:24-cv-00496-JFS Document1 Filed 03/22/24 Page 3 of 7

Defendant 2:

CS Cre QO Woe Adar=

Name (Last, First) 0? C) / ©
Bevo “Director a { 2oloakio mS Corecat Lond OxxK(e!r
Current Job Title
Lyaclkauca KE WOA C noon (RASOr——”
Current Work Addr

SS
Ssoranton Loadlaauca rencok Coord a

City, County, State, Zip Code

Defendant 3:

Wla22onmen Sowcla ee
Name (Last, First) ‘

Aseria wet “> iste ot Atkor noes

Current Job Title
200 ree GOeashn c=oton Ghee et
Current Work Address UO

Qevanton yadlnusroren Q curred Pa \BSOD

City, County, State, Zip Code

Defendant 4:
UrbreonwoA \ow Sohne
Name (Last, First)
ake LecopeR
Current Job Title ,
Sodder Coonte “Saeaadlaes
Current Work Address

Soddew Coontd CA

City, County, State, Zip Code

Defendant 5:

Name (Last, First)

Current Job Title

Current Work Address

City, County, State, Zip Code
Page 3 of 6
Case 3:24-cv-00496-JFS Document 1 Filed 03/22/24 Page 4 of 7

Ii. STATEMENT OF FACTS
State only the facts of your claim below. Include all the facts you consider important. Attach additional
pages if needed.

A. Describe where and when the events giving rise to your claim(s) arose.
LU aclnauoancnoa Coon, WDunmoke Ta Dia t WY ASAD
Arresbed For Niclabione PR acahven hem n= Frow
=fyenaln_ Coneennk Tikhed Under dodket il-te- IAes

B. On what date did the events giving rise to your claim(s) occur?

Avauek (7), ZO2RO

C. What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what?)

“ET. Goes arrested Wewarcet bo docket We CR- 19 8G. re Rell one
Lo a a vdathene (ekikion= Tiled lod “7.0. monled kee Wr deen
ne Se TRoloakicas exered « AL Ne Hequeck ol A Vite \ecoper oot Conan
oW nee adder econ Poaeeealaa, ak mad Konqncons \ henaines
Depot Nireokon of Reloatiow Adare Coa Wass ¢ Delned + Foeusew
Mave NMickebion> ol “Aclalione te A Qharcers \\ \ uslheee ADA
Soedane 7 (av2zoree “rRoceeded Sire Dave J? Ared Coondel
Nidelralaed ne eevee Tregenked Plath UaAs> comicled
Arad Sentenced ars he Rolalrors Videkione. Dre Dare
lo, FOQS Ye “PA. Soper tor. Cooves Nacaked Mae Violations

“rolbalic w> Ayed Venter Ceo

Page 4 of 6
Case 3:24-cv-00496-JFS Document1 Filed 03/22/24 Page 5 of 7

IV. LEGAL CLAIM(S)

You are not required to make legal argument or cite any cases or statutes. However, state what
constitutional rights, statutes, or laws you believe were violated by the above actions. If you intend to
assert multiple claims, number and set forth each claim in separate paragraphs. Attach additional pages if
needed.

iY males reoscaution=

D) Fourba Amendment Curreasoreaiole Geisure ) Nielation
BS Amendment ~iolahion Craloe Lee okimo wot )

4) Resin Amendment ~Hriol lation Coss ok Loewy)
YT ign amendment Viclabicns (Vale WW ORILSOO ment)
te) isin Amendmenk Niolatic re (Kaloe allegakior=s)

“\neve Nidlebicnet odcueeed uclhene TRoloatione ones, Devolved
ieee Vane max Exeived. alse beck uMored ar Ts Tale vaated|

EN idenee UDA*> Osed Leo AANAKSGe, de Leal Ts VT ROCCE

V. INJURY

Describe with specificity what injury, harm, or damages you suffered because of the events described
above.

ates USAT \roanecosbed TRON. AD, VV, BODO Oretil Jane
lo, 2022 Foe ns ackior=-

VI. RELIEF

State exactly what you want the court to do for you. For example, you may be seeking money damages,
you may want the court to order a defendant to do something or stop doing something, or you may be
seeking both types of relief. If you are seeking monetary relief, state your request generally. Do not
request a specific amount of money.

TT am zcek weg Moned | demons FoR ENewd dau {re Savcor

OC) OO
Rom Aca) ,2020 Onkik SAn= bo, AOZDS -

Page 5 of 6
Case 3:24-cv-00496-JFS Document1 Filed 03/22/24 Page 6 of 7

VIL. SIGNATURE

By signing this complaint, you represent to the court that the facts alleged are true to the best of your
knowledge and are supported by evidence, that those facts show a violation of law, and that you are not
filing this complaint to harass another person or for any other improper purpose.

Local Rule of Court 83.18 requires pro se plaintiffs to keep the court informed of their current address. If
your address changes while your lawsuit is being litigated, you must immediately inform the court of the
change in writing. By signing and submitting the complaint form, you agree to provide the Clerk’s Office
with any changes to your address where case-related papers may be served, and you acknowledge that
your failure to keep a current address on file with the Clerk’s Office may result in dismissal of your case.

Alor

(sihnature of Plaintiff’

maedh 20, 2024

Date

Page 6 of 6
a ore eS

p20e- 02" uvwsezs260000 “ge a Be
gee: LOO $ ziost diz ~ Se " a Lo

= eee outta

canca souk BOWLSOE SM are eat el a - ue “aN h Tele 1}. {fa ‘Wel wb) 2 sown zy
